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DISTRICT CO evT3 5 JEFFERSON. COLORADO
, Division a

Civil Action No.

 

 

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

 

ENOCKINA OCANSEY, EZEKIEL OCANSEY, through his father and next friend, KABU
OCANSEY, and AISHA PRICE, through her parents and next friends, ARCHIE PRICE and
BARBARA PRICE,

Plaintiffs,
vs.

JEFFERSON COUNTY SCHOOL DISTRICT R-1, and
KEN ROBKE, in his official capacity as principal of ARVADA HIGH SCHOOL,

Defendants.

 

Plaintiffs Enockina Ocansey; Ezekiel Ocansey, through his father and next friend, Kabu
Ocansey; and Aisha’ Price, through her parents and nex: friends, Archie Price and Barbara
Price; through their undersigned counsel, state as follows:

INTRODUCTION

The Plaintiffs bring this action seeking emergency declaratory and injunctive relicf from
an official restriction applied to and imposed upon them by the Defendants which would have
the effect of preventing them from engaging In constitutionally protected silent symbolic
expression in the context of the graduation ceremonies for the senior class at Arvada High
School. Each of the graduating Plaintiffs has requested, and has been denied, the right to wear
a Kente Cloth with the traditional cap and gown at their graduation ceremony. The Defendants’
policy and prohibition, as applied to the circumstances presented by the Plaintiffs herein,
constitutes an unconsticutional abridgement of the Plaintiffs’ rights to engage in free speech and

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EXHIBIT

 

 
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association as guaranteed by the First and Fourteenth Amendments to the Constitution of the
United States, Article II, Section 10, of the Constitution of the State of Colorado, and C.R.S.
§ 22-1-120,

JURISDICTION AND VENUE

i. Plaintiffs’ First Claim arises under the First and Fourteenth Amendments to the
Constitution of the United States and 42 U.S.C. § 1983. Plaintiffs’ Second Claim arises under
Article If, Section 10, of the Constitution of the State of Colorado. Plaintiffs’ Third Claim
arises under C.R.S. § 22-1-120,

a: Venue is proper in this District pursuant to Colo.R.Civ.P, 98(c) as the Defendants
reside in this District and all of the events giving rise to the claims set forth in this Complaint
for Declaratory and Injunctive Relief occurred in this District.

PARTIES

3, Plaintiffs Enockina Ocansey ("Ocansey") and Aisha Price ("Price") are students

and members of the 1998 senior class at Arvada High School, Jefferson County, Colorado,

Both Ocansey and Price have completed all requirements for graduation from Arvada High

o School and are scheduled to receive their diplomas and participate in the schoo!'s commencement
exercises and ceremony on May 26, 1998.

4, Plaintiff Ezekiel] Ocansey is a student and member of the freshman class at
Arvada High School, Jefferson County, Colorado. Ezekiel Ocansey anticipates completing all
requirements for graduation from Arvada High School and receiving a diploma and participating
in the school's commencement exercises and ceremony in 2001.

5, Plaintiff Kabu Ocansey is the father of Plaintiff Ezekiel Ocansey, and Plaintiffs
Archle Price and Barbara Price are the father and mother of Plaintiff Aisha Price, and appear
herein as the parents and next friends of their respective minor children.

6. Defendant Jefferson County Schoo] District R-1 (the “District”) is a duly and
regularly organized public school district within the State of Colorado pursuant to
C.R.S. § 22-32-101, and, as such, is a body corporate and political subdivision of the State of
Colorado with authority to sue and be sued. The District is governed by the Board of Education
of Jefferson County School District R-1 pursuant to C.R.S. § 22-32-103.

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a. Defendant Ken Robke ("Robke") is the principal of Arvada High School and is
sued in such official capacity,

8. Each of the Defendants are “persons” within the purview of 42 U.S.C. § 1983,
GENERAL ALLEGATIONS

i 9. Paragraphs { through 8, above, are incorporated herein by reference as if set forth
in full.

10. In anticipation of the graduation ceremony to be conducted on May 26, 1998,
Arvada High School, acting by and through its principal (Robke) and with the knowledge,
consent, and pursuant to the authority of the District and its Board of Education, presented to
each member of the school’s graduating class a form "Graduation Agreement" and requested that
such agreement be signed by each student and his or her parent. A true and correct copy of the
form "Graduation Agreement” is attached hereto as Exhibit A.

11. Pursuant to paragraph 3 of the "Graduation Agreement”, each student is requested
to agree that: .

e I will be responsible for my attire and wil] wear the authorized cap, gown, and
tassel. J] will not make changes or decorate my cap and gown in any way.

By violating or refusing to sign the "Graduation Agreement", a student explicitly "forfeit[s]" his
or her “right to participate in graduation." The "Graduation Agreement" further provides that
any "misconduct" may result in exclusion from the "graduation and the area,” withholding of
the diploma, and possible further disciplinary action.

12. Ocansey and Price, with the support and consent of their respective parents, wish
to wear a tasteful African ceremonial cloth known as a “Kente Cloth" draped over their
shoulders in addition and complementary to the traditional cap, gown, and tassel during the
graduation ceremony, Ezekiel Ocansey, also with the support and consent of his parents, wishes
to wear a Kente cloth in the same fashion during his graduation ceremony in 2001.

13. A Kenre Cloth is a strip of cloth, measuring approximately four inches in width
by three feet in length, which is worn on special occasions in the African tradition as an
expression of cultural pride, dignity, and honor. The Kente Cloth is worn as a visual

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representation and symbol of, and as a statement of respect for, the culture from which those
wearing It trace their ancestral and social roots. The Kente Cloth has, further, become a popular
and respected symbol and represenration of the pride which African Americans hold in their
cultural roots and their commitment to an American society which embraces cultural diversity.

Ce 14. Ocansey and Price, with the assistance of their parents, ordered special Kente
Cloths for their Arvada High School graduation ceremony. Each cloth tastefully references the
occasion of the 1998 graduation ceremony,

15.  Ocansey and Price approached Defendant Robke and requested permission to wear
their Kente Cloths at the school’s graduation ceremony. Ocansey and Price were thereupon
advised that wearing Kente Cloths would not be consistent with the requirements of the
"Graduation Agreement," Ocansey and Price requested an exemption from the applicable
provisions of the "Graduation Agreement."

16. Upon Information and belief, Defendant Robke submitted the students’ exemption

requests to the District staff for further review and consideration. This submission resulted in

a letter from Defendant Robke to the parents of Ocansey and Price, dated May 11, 1998,

denying their daughters’ requests and reaffirming the decision that students would not be

o permitted to participate in the graduation ceremonies if they wore Kente Cloths. A true and
correct copy of the letter to Price’s parents is attached hereto as Exhibit B.

17. As set forth in the letters described in paragraph 17, above, the action of the
District is premised upon and motivated by (1) a wish to "preserve the unity of the graduation
ceremony” and (2) a wish to avoid the prospect that "other individuals might choose to wear
adornments intended to convey a viewpoint that others might find offensive."

18.  Ocansey and Price have been advised by and on behalf of the Defendants that they
must sign the "Graduation Agreement" by May 22, 1998, or they will not be permitted to
participate in the graduation ceremony. Ocansey and Price have further been advised that the
terms of the “Graduation Agreement” will be applied to them, as set forth in the letters described
in paragraphs 17 and 18, above, in such manner as to prohibit them from wearing their Kente
Cloths at the May 26 graduation ceremony. The same policy will apply to Ezekiel Ocansey in
the context of his graduation ceremony.

19. Anactual and immediate controversy exists between the Plaintiffs and Defendants,
with regard to which Plaintiffs are entitled to a declaration of their rights pursuant to

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Colo.R.Civ.P. 57. Without such a declaration, the Plaintiffs will be uncertain of their rights and
chilled in the exercise of constitutionally protected activities.

20. Plaintiffs are entitled to injunctive relief pursuant to 42 U.S.C. § 1983 and
Colo. R.Civ.P. 65. Defendants, acting under color of state law, are prohibiting the Plaintiffs
~~ from engaging in constitutionally and statutorily protected activity as a result of which the
Plaintiffs are suffering and will continue to suffer irreparable injury. Plaintiffs have no plain,
speedy, or adequate remedy at law.

FIRST CLAIM
(First Amendment to the Constitution of the United States; 42 U.S.C. § 1983)

21. Paragraphs 1 through 20, above, are incorporated herein by reference as if set
forth in full.

22. The actions of the Defendants, al] as specifically set forth above, constitute a
direct, official, and improper deprivation and violation of the rights of the Plaintiffs to engage
in silent symbolic expression as guaranteed and protected by the First Amendment to the
Constitution of the United States and made applicable to the Defendants through the Fourteenth
Amendment to the Constitution of the United States.

23. The actions of the Defendants, all as specifically set forth above, further,
constitute the direct imposition of an unconstitutional burden and condition upon the exercise of
the Plaintiffs’ rights of free expression and association as guaranteed by the First Amendment
to the Constirution of the United States and made applicable to the Defendants through the
Fourteenth Amendment to the Constitution of the United States.

24. The Plaintiffs are entitled to an Order and Judgment by this Court declaring the

- specified provisions of the "Graduation Agreement", as applied to them, as well as the

Defendants’ explicit prohibition of their right to wear their Kente Cloths at the 1998 Arvada

High School graduation ceremony, to be unconstitutional as violative of the First and Fourteenth

Amendments to the Constitution of the United States, and to entry of a preliminary and
permanent injunction against application or enforcement thereof.

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SECOND CLAIM
(Article If, Section 10, of the Constitution of the State of Colorado)

25. Paragraphs | through 20, above, are incorporated herein by reference as if set
forth in full.

26, The actions of the Defendants, all as specifically set forth above, constitute a
direct, official, and improper deprivation and violation of the rights of the Plaintiffs to engage
in silent symbolic expression as guaranteed and protected by. Article II, Section 10, of che
Constitution of the State of Colorado.

27, The actions of the Defendants, all as specifically set forth above, further,
constitute the direct imposition of an unconstitutional burden and condition upon the exercise of
the Plaintiffs’ rights of free expression and association as guaranteed by Article II, Section 10,
of the Constitution of the State of Colorado,

28, The Plaintiffs are entitled to an Order and Judgment by this Court declaring the
specified provisions of the "Graduation Agreement", as applied to them, as well as the
Defendants’ explicit prohibition of their right to wear their Kente Cloths at the 1998 Arvada
High School graduation ceremony, to be unconstitutional as violative of Article II, Section 10,

~ of the Constitution of the State of Colorado, and to entry of a preliminary and permanent
injunction against application or enforcement thereof.

THIRD CLAIM
(C.R.S. § 22-1-120)

29. Paragraphs 1 through 28, above, are incorporated herein by reference as if set
forth in full.

30. In 1990, the Colorado General Assembly passed, and the Governor of the State
of Colorado signed into law, C.R.S. § 22-1-120, This statute — titled "Rights of free
expression for public school students" — provides in pertinent past as follows:

(1) The general assembly declares that students of the public schools shall
have the right to exercise freedom of speech and of the press... ."

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(7) No expression made by srudents in the exercise of freedom of speech
or freedom of the press shall be deemed to be an expression of school policy,

31. The purpose, intent, and effect of C.R.S. § 22-1-120 is to fully preserve, extend,
- and supplement the rights of public schoo! students in the State of Colorado to exercise their
rights of free expression,

32. The actions of the Defendants, all as specifically set forth above, constitute a
direct, official, and improper deprivation and violation of the rights of the Plaintiffs, as students
attending a public school in the State of Colorado, to engage in silent symbolic expression as
protected by C.R.S. § 22-1-120.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs pray that this Court enter its Order and Judgment as
follows:

a) Upon their First Claim, declaring the specified provisions of the Arvada High

School "Graduation Agreement”, as applied to them, as well as the Defendants’ explicit

ao prohibition of their right to wear their Kente Cloths at the 1998 Arvada High School graduation

ceremony, to be unconstitutional as violative of the First and Fourteenth Amendments to the

Constitution of the United States, and to entry of a preliminary and permanent injunction against
application or enforcement thereof; and

b) Upon their Second Claim, declaring the specified provisions of the Arvada High
School "Graduation Agreement", as applied to them, as well as the Defendants’ explicit
prohibition of their right to wear their Kente Cloths at the 1998 Arvada High School graduation
ceremony, to be unconstitutional as violative of Article II, Section 10, of the Constitution of the
State of Colorado, and to entry of a preliminary and permanent injunction against application
or enforcement thereof;

c) Upon their Third Claim, declaring the specified provisions of the Arvada High
School "Graduation Agreement", as applied to them, as well as the Defendants’ explicit
prohibition of their right to wear their Kente Cloths at the 1998 Arvada High School graduation
ceremony, to he a violation of their statutory rights as students attending public school as

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protected and preserved by C.R.S. § 22-1-120, and to entry of a preliminary and permanent
injunction against application or enforcement thereof;

d) Declaring the Plaintiffs to be entitled ta an award of their reasonable attorneys’
fees and costs incurred in connection with this action from the Defendants pursuant to 42 U.S.C.
§ 1988; and

d) Granting them such further and different relief as to this Court may seem just and
proper.

DATED this 7 day of May, 1998,
ISAACSON, ROSENBAUM, WOODS & LEVY, P.C.

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